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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIvIsIoN
JOHNNY BEARD and FRED BAKER ) C\£§:C\i§`u:sl?€l P§£M
& soNs ELECTRIC, INC., ) win et mt ~‘\EN`\
Plaintiffs, §
v. § NO. 04-2417 B/An
BENICoRP INsURANCE Co., i
Defendant. §

 

ORDER GRANTING MOTION TO STRIKE JURY DEMAND IN
PLAINTIFFS’ AMENDED COMPLAINT

 

Before the Court is Defendant’s Motion to Strike Jury Demand in Plaintiffs’ Amended
Comp]aint filed on May }6, 2005. United States District Judge J. Daniel Breen referred this
matter to the Magistrate Judge for determination F or the reasons set forth below, the Motion is
GRANTED.

BACKGROUND

Plaintiffs filed this claim against Defendant Benicorp lnsurance Co. (“Benicorp” or
“Defendant”) alleging that Defendant denied claims for benefits that Plaintiff Johnny Beard
(“Beard”) submitted under the employee welfare benefit plan that Plaintiff Fred Baker & Sons
Eleotric Inc. (“Baker & Sons”) sponsored (the “Plan”). Plaintiffs allege that Beard Was covered
by a group health insurance policy issued under the Plan and purchased from Defendant.

Specifically, Plaintiffs allege that after Beard sustained a fractured hip, Defendant denied Beard’s

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claim for payment of his medical expenses After Defendant denied his claim, Plaintiffs sued
Benicorp for payment of the medical expenses, or $47,661.90. Plaintiffs demanded a jury trial.

After receiving permission from the Court, Plain.tiffs filed an Amended Complaint on
April lS, 2005. ln their Amended Complaint, Plaintiffs allege two separate Counts against
Defendant. First, in Count I, Plaintiffs allege that Beard is entitled to recover benefits owed
under the Plan for the injuries he sustained. Second, in Count Il, Plaintiffs allege that “[t]here
was a contractual relationship between Defendant and Plaintiff, Johnny Beard, and as a result,
Plaintiff, Johnny Beard, was entitled to notice of any non-payment of the insurance premium
necessary to maintain the medical benefit plan.” (Reply Brief in Supp. of Mot. to Strike Jury
Demand, at 4).

Plaintiffs responded to the Motion on June 6, 2005. ln their Resporise, Plai`ntiffs rely on a
single, unpublished case from the Middle District of Tennessee. Plaintiffs do not argue that
ERISA entitles Plaintiffs to a jury trial', instead, Plaintiffs argue that Count ll of the Amended
Complaint, Which encompasses the notice claim, affords Plaintiffs the right to a jury trial.

ANALYSIS

“Congress Enacted ERISA to ‘protect . . . the interests of participants in employee benefit
plans and their beneficiaries’ by setting out substantive regulatory requirements for employee
benefit plans and to ‘provid[e] for appropriate remedies, sanctions and ready access to the
Federal courts.”’ Aema Healrh, fric. v. Davr`la, 542 U.S. 200 (2004) (quoting 29 U.S.C. §
lO()l (b)). Because ERISA’s purpose is to provide a uniform regulatory system for handling
employee benefit plans, Congress made sure to include “expansive pre-emption provisions”

within ERlSA. Id. (citing 29 U.S.C. § 1144). As such, the United States Supreme Court has

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held that ERISA should be “exclusively a federal concem.” Alessi` v. Raybestos-Manhartan, fnc.,
451 U.S. 504, 523 (1981).

When enacting ERISA, Congress intended to create a federal system for regulating
employee benefit plans; therefore, “any state-law cause of action that duplicates, supplements, or
supplants the ERISA civil enforcement remedy conflicts with the clear congressional intent to
make the ERlSA remedy exclusive and is therefore pre-empted.” See Davila, 542 U.S. at 200.
Moreover, the Supreme Court has “held that state common law causes of action asserting
improper processing of a claim for benefits” are pre-empted. See Pr'fot Lije fns. Co. v. Dedeaux,
481 U.S. 41, 107 (1987). Only a “law of any State which regulates insurance, banking or
securities” is exempted for ERISA pre-emption. 29 U.S.C. § l l44(b)(2)(A). Also known as the
savings clause, 29 U.S.C. § l l44(b)(2)(A) is narrow in scope.

Because courts struggled to determine when a law regulated the insurance industry, the
Supreme Court recently created a two-step test for courts to apply. See Kentucky Ass 'n ofHeafth
Plans, [nc. v. Mz`ller, 538 U.S. 329 (2003). Writing for the majority, J'ustice Scalia first instructed
courts to find that “the state law must be specifically directed toward entities engaged in
insurance.” Id. at 342. Justice Scalia then added that the Court must also find that “the state law
must substantially affect the risk pooling arrangement between the insurer and the insured.” Id.
lf the law does not pass both prongs of the Mt'l[er test, the law is pre-empted by ERISA.

ln this case, the parties do not dispute that Count l of Plaintiffs’ Amended Complaint,
which seeks to recover benefits under the Plan, is covered under ERISA. The paities also do not
dispute that ERlSA does not provide for the right to a trial by jury. See Mertens v. Hewi'rt

Assocs., 508 U.S. 248, 260 (1993); Bat'r v. Generaf Motors Corp., 895 F.2d 1094, 1096-97 (6th

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Cir. 1990). Therefore, the Court must only determine whether Count 11 of Plaintiffs’ Amended
Complaint, which seeks to penalize Defendant for not notifying Beard of his non-payment of the
insurance premium, is saved by the savings clause and therefore entitles Plaintiffs to a trial by
jury. After review, the Court concludes that Plaintiffs’ notification claim is not saved by the
savings clause; therefore, Plaintiffs are not entitled to a trial by jury.

Plaintiffs have supplied the Court with a single report and recommendation from a United
States Magistrate Judge in the Middle District of Tennessee in support of their position that
Count ll entitles Plaintiffs to a jury trial. See Seals v. Health & Welfare Plaa for Ernployees &
Deperiderits ofHarbour, fnc., No. 3:90-0463, 1991 U.S. Dist. LEXIS 18020 (M.D. Tenn. July 15,
2001 ). ln his report and recommendation, Magistrate Judge William J. Hayries, Jr. examined
whether the plaintiffs notification claim should be pre-empted by ERISA. Looking at various
Tennessee state court cases, Judge Haynes found that an employee is entitled to notice of
cancellation of a group policy because the employee holds a “special contract” with the insurer.
See id. at *45. “Tennessee insurance law imposes a duty on the insurer to notify the employee of
any cancellation of coverage.” Id. at *48. Because Tennessee requires notification to the
insured, Judge Haynes found that Tennessee common law regulates the insurance industry;
therefore, a notice claim is not pre-empted by ERISA. See id.

After review, the Undersigned finds that the Seafs case is not persuasive Following the
Mt`f!er test, the Court must first ask whether the state law is specifically directed toward entities
engaged in insurance Plaintiffs have provided the Court with only the report and
recommendation from Judge Hayens, which finds that Tennessee common law affords the

insured the right to be notified by the insurer. Plaintiffs have not provided the Court with a

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specific Tennessee statute dealing with notification laws for the insurance industry Without a
specific statute, the Court is simply not convinced that the Tennessee General Assembly intended
to specifically regulate the insurance industry. Therefore, the Mr`fler test has not been met.

Furthermore, even if the notification provision discussed by Judge Haynes is considered
by the Court, the Court still concludes that Count ll of the Amended Complaint is not saved by
the savings clause. The savings clause is narrow in scope, and the pre-emption provision of
ERlSA is “conspicuous for its breadth.” FMC Corp. v. Hollt`day, 498 U.S. 52, 58 (1990). When
applying the two-step Miller test to the notification provision, the Court concludes that the
notification provision relied upon by Plaintiffs does not “substantially affect the risk pooling
arrangement between the insured and insurer.” Multiple courts have held that risk pooling under
an insurance policy occurs when the policy is issued, not when the insured submits his or her
claim. See, e.g., Union Labor Lt`fe fns. Co. v. Pi'reno, 458 U.S. 119, 130 (1982)5 Davt`es v.
Ceritenm`af Li'fe fns Co., 128 F.3d 934, 941 (6th Cir. 1997); sz`th v. Jejerson Pilol‘ Li_`fe fns. Co.,
14 F.3d 562 (11th Cir. 1994). For example, Smith v. Jejjferson Pt`lotLi'fe lawrence Co.
addressed a notification statute in Georgia. Smi`th held notification laws do not affect the risk
pooling arrangement between the insured and insurer. See Smith, 14 F.3d at 5 70. Smi`th instead
noted that “ERISA is designed . . . to provide uniformity in the administration of benefit plans for
the protection of plan participants.” Id. Therefore, following Smtrh, the Court concludes that
Count ll is not saved by the savings clause.

F or these reasons, the Court concludes that Count 11 of the Aniended Complaint does not

involve a state law that is specifically directed toward regulating the insurance industry. Because

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Count ll is not saved by the savings clause, Count ll is pre-empted by ER]SA. Therefore,

Plaintiffs are not entitled to a trial by jury, and the Motion to Strike Jury Demand is GRANTED.
Pursuant to the Order of Reference, any objections to this Order shall be made in writing

within ten days after service of this Order and shall set forth with particularity those portions of

the Order objected to and the reasons for those objections

asc/rnJ dan

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: LO(`MJ' 03/, ZOO_$’_

lT IS SO ORDERED.

 

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CIRCUIT COURT, 30TH .TUDICIAL DISTRICT

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Honorable .l. Breen
US DISTRICT COURT

